Case 4:11-cv-00655-ALM Document 339 Filed 04/14/14 Page 1 of 1 PageID #: 6968
                     **NOT FOR PRINTED PUBLICATION**

                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                   SHERMAN DIVISION

 SECURITIES AND EXCHANGE                         §
 COMMISSION,                                     §
                                                 §
                Plaintiff,                       §
                                                 §
 v.                                              §     CIVIL ACTION NO. 4:11cv655
                                                 §
 JAMES G. TEMME and                              §
 STEWARDSHIP FUND, LP,                           §
                                                 §
                Defendants.                      §

                                             ORDER

        Before the court are Receiver Keith M. Aurzada’s (the “Receiver”) Motion to Approve

 Settlement Agreement with F&B (the “F&B Settlement Agreement”) and Motion to Allow

 and Pay Professional Fees (collectively, the “Motions”) [Doc. #333]. The court, having

 considered the Motions, the F&B Settlement Agreement, the evidence, the lack of responsive

 briefing and objections by any creditors or claimants, and the relevant legal principles, finds

 and concludes that the Motions and the relief requested therein should be GRANTED and

 therefore orders that:

        1.      The court approves the F&B Settlement Agreement.

         2.      The Receiver is allowed to pay $2,000 in professional fees and expenses to

 Hicks Thomas LLP, subject to supplementation for additional fees and expenses incurred in

 connection with obtaining the relief requested in the Motions.

        So ORDERED and SIGNED this 14 day of April, 2014.




                                                       ___________________________________
                                                       Ron Clark, United States District Judge
